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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

RICHARD B. KIMBROUGH,

                    Plaintiff,                           4:12CV3100

vs.
                                                        JUDGMENT
UNITED STATES OF AMERICA,

                    Defendant.

      In accordance with the accompanying order, this case is dismissed, with
prejudice, each party to bear its own costs.

        Dated this 5th day of September, 2012.

                                             BY THE COURT:



                                             John M. Gerrard
                                             United States District Judge
